                             Case 24-14482-PDR  Doc BANKRUPTCY
                                      UNITED STATES 18-1 Filed 08/01/24
                                                                 COURT Page 1 of 1
                                                 SOUTHERN DISTRICT OF FLORIDA
                                                       www.flsb.uscourts.gov

In re:                                                               Case No. 24-14482-PDR
  Roi Neeman                                                         Chapter 7

                          Debtor             /

                   DEBTOR’S NOTICE OF COMPLIANCE WITH REQUIREMENTS FOR AMENDING
                                        CREDITOR INFORMATION

This notice is being filed in accordance with Local Rules 1007-2(B), 1009-1(D), or 1019-1(B) upon the filing of an amendment
to the debtor’s lists, schedules or statements, pursuant to Bankruptcy Rules 1007, 1009, 1019 or 5010-1(B). I certify that:

[ ]      The paper filed adds creditor(s) as reflected on the attached list (include name and address of each creditor being
         added). I have:
         1.   remitted the required fee (unless the paper is a Bankruptcy Rule 1019(5) report);
         2.   provided the court with a supplemental matrix of only the added creditors on a CD or memory stick in
              electronic text format (ASCII or MS-DOS text), or electronically uploaded the added creditors in CM/ECF;
         3.   provided notice to affected parties, including service of a copy of this notice and
              a copy of the §341 or post conversion meeting notice [see Local Rule 1009-1(D)(2)] and filed a certificate of
              service in compliance with the court [see Local Rule 2002-1(F)];
         4.   filed an amended schedule(s) and summary of schedules; and
         5.   filed a motion to reopen accompanied by the required filing fee (if adding creditors pursuant to Local Rule
              5010-1(B)).

[ ]      The paper filed deletes a creditor(s) as reflected on the attached list (include name and address of each
         creditor being deleted). I have:
         1.    remitted the required fee;
         2.    provided notice to affected parties and filed a certificate of service in compliance with the court [see
               Local Rule 2002-1(F)]; and
         3.    filed an amended schedule(s) and summary of schedules.

[ ]      The paper filed corrects the name and/or address of a creditor(s) as reflected on the attached list. I have:
         1.   provided notice to affected parties, including service of a copy of this notice and a copy of
              the §341 or post conversion meeting notice [see Local Rule 1009-1(D)(2)] and filed a certificate of service
              in compliance with the court [see Local Rule 2002-1(F)]; and
         2.   filed an amended schedule(s) or other paper.

[ ]      The paper filed corrects schedule D or E/F amount(s) or classification(s). I have:
         1.    remitted the required fee;
         2.    provided notice to affected parties and filed a certificate of service in compliance with the court [see Local
               Rule 2002-1(F)]; and
         3.    filed an amended schedule(s) and summary of schedules.

XX
[ ]      None of the above apply. The paper filed does not require an additional fee, a supplemental matrix, or notice to
         affected parties. It □ does □ does not require the filing of an amended schedule and summary of schedules.

I also certify that, if filing amended schedules, Bankruptcy Form 106 “Declaration About an Individual Debtor’s Schedules”
(signed by both debtors) or Bankruptcy Form 202 , “Declaration Under Penalty of Perjury for Non-Individual Debtors” has
been filed as required by Local Rules 1007-2(B), 1009-1(A)(2) and (D)(1), or 1019-1(B).

Dated:       8/1/2024
/s/David A. Ray
Attorney for Debtor (or Debtor, if pro se)                 Joint Debtor (if applicable)
      David A. Ray
Print Name                                                 Address
      13871
Florida Bar Number                                         Phone Number

LF-4 (rev. 12/01/15)
